






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-11-00629-CR






Ex parte Ezra Pleasant






FROM THE DISTRICT COURT OF HAYS COUNTY, 22ND JUDICIAL DISTRICT

NO. CR-02-0333C, HONORABLE CHARLES R. RAMSAY, JUDGE PRESIDING





M E M O R A N D U M   O P I N I O N


		Ezra Pleasant pleaded guilty to one count of aggravated sexual assault of a
child&nbsp;and&nbsp;two counts of indecency with a child by contact.  Punishment was assessed at ten years'
imprisonment for each count, but, on the jury's recommendation, the district court suspended
imposition of the sentence and placed Pleasant on community supervision.  This Court affirmed the
judgments of conviction on appeal.  See Pleasant v. State, No. 03-03-00514-CR, 2005 Tex. App.
LEXIS 856 (Tex. App.--Austin Feb. 3, 2005, no pet.) (mem. op., not designated for publication). (1) 

		In March 2008, Pleasant filed an application for writ of habeas corpus pursuant
to&nbsp;article 11.072 of the code of criminal procedure, the article establishing the procedures for
an&nbsp;application for a writ of habeas corpus in a case in which the applicant seeks relief from an
order&nbsp;or a judgment of conviction ordering community supervision.  See Tex. Code Crim. Proc. Ann.
art.&nbsp;11.072 (West 2005). (2)  In a nunc pro tunc order signed on January 30, 2009, the district court
denied Pleasant habeas relief and adopted findings of fact and conclusions of law in support.  On
August 11, 2011--more than two years after the district court's order--Pleasant filed a notice of
appeal from the order, giving rise to this cause.

		The rules of appellate procedure require that a defendant file his notice of appeal
within 30 days after the trial court "enters an appealable order."  Tex. R. App. P. 26.2(a)(1); see also
Ex parte Delgado, 214 S.W.3d 56, 58 (applying rule 26.2(a)(1) to order denying habeas relief under
article 11.072).  For the purposes of the appellate timetable, a trial court "enters" an order when it
signs the order.  See State v. Rosenbaum, 818 S.W.2d 398, 401-03 (Tex. Crim. App. 1991); Ortiz
v. State, 299 S.W.3d 930, 933 (Tex. App.--Amarillo 2009, no pet.); State v. Rollins, 4 S.W.3d
453,&nbsp;454-55 (Tex. App.--Austin 1999, no pet.).  The district court signed the appealable order in
January 2009, yet Pleasant did not file his notice of appeal until August 11, 2011, more than
two&nbsp;years thereafter. (3)  A timely notice of appeal is necessary to invoke this Court's jurisdiction.  See
Olivo v. State, 918 S.W.2d 519, 522 (Tex. Crim. App. 1996).  Under these circumstances, we must
dismiss the appeal for want of jurisdiction. (4)  The appeal is dismissed.



						__________________________________________

						Bob Pemberton, Justice

Before Chief Justice Jones, Justices Pemberton and Rose

Dismissed for Want of Jurisdiction

Filed:   March 21, 2012

Do Not Publish
1.   However, Pleasant is currently incarcerated as a result of a subsequent conviction
for&nbsp;additional sex offenses, which this Court also affirmed on appeal.  See Pleasant v. State,
No.&nbsp;03-04-00691-CR, 2005 Tex. App. LEXIS 10227 (Tex. App.--Austin Dec. 9, 2005, pet. ref'd)
(mem. op., not designated for publication).
2.   Pleasant had previously filed an application for writ of habeas corpus pursuant to
article&nbsp;11.07 of the code of criminal procedure, which applies to cases in which the applicant seeks
relief from a felony judgment imposing a penalty other than death, including cases in which
community supervision has been revoked.  See Tex. Code Crim. Proc. Ann. art. 11.07 (West Supp.
2011).  The application was ultimately dismissed by the court of criminal appeals without a written
order after the trial court determined that Pleasant's community supervision had not been revoked.
See Ex parte Pleasant, No. WR-66,334-01 (Tex. Crim. App. Aug. 22, 2007).
3.   The clerk's record does contain an earlier notice of appeal that Pleasant filed with the
district court on May 27, 2009.  This Court never received a copy of this notice of appeal.  However,
the earlier notice of appeal, like the one filed in August 2011, was untimely and thus insufficient to
invoke this Court's jurisdiction.
4.   We have also received from Pleasant a motion for extension of time to file his appellate
brief.  In light of our disposition of this appeal, we dismiss the motion as moot.


